      Case 1:23-cv-01228-SEG      Document 28     Filed 06/03/25   Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

Brandon Jones,                            )
                                          )
      Plaintiff,                          )
                                          ) Case No. 1:23-cv-01228-SEG
v.                                        )
                                          )
William J. Pulte,                         )
                                          )
      Defendant.                          )

      PLAINTIFF’S, BRANDON JONES, VOLUNTARY NOTICE OF
                   DISMISSAL WITH PREJUDICE

      Plaintiff, Brandon Jones (“Jones”), pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i), gives notice of dismissal with prejudice of all claims by

Jones against Defendant, Willim J. Pulte, with each party to bear their own costs

and attorneys’ fees.

      Respectfully submitted this 3rd day of June, 2025.

                                       /s/ Jonathan D. Grunberg
                                       Nicole Jennings Wade
                                       Georgia Bar Number 869318
                                       nwade@wgwlawfirm.com
                                       Jonathan D. Grunberg
                                       Georgia Bar Number 869318
                                       jgrunberg@wgwlawfirm.com
                                       G. Taylor Wilson
                                       Georgia Bar Number 460781
                                       twilson@wgwlawfirm.com

                                       WADE, GRUNBERG & WILSON, LLC
                                       729 Piedmont Ave NE
                                       Atlanta, Georgia 30308
Case 1:23-cv-01228-SEG   Document 28   Filed 06/03/25    Page 2 of 3




                             Telephone: (404) 600-1153
                             Facsimile: (470) 970-4303

                             Attorneys for Plaintiff Brandon Jones
      Case 1:23-cv-01228-SEG        Document 28   Filed 06/03/25   Page 3 of 3




         CERTIFICATE OF COUNSEL REGARDING FONT SIZE

      Counsel certifies that the foregoing has been prepared using Times New

Roman font size 14 in accordance with Local Rules 5.1(C) and 7.1(D).

      This 3rd day of June, 2025.

                                 /s/ Jonathan D. Grunberg
                                Jonathan D. Grunberg
                                Georgia Bar No. 869318
